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           Case 3:18-cv-04810-JCS Document 91-17 Filed 01/29/20 Page 1 of 18
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12                                    UNITED STATES DISTRICT COURT

13                                 NORTHERN DISTRICT OF CALIFORNIA

14                                         SAN FRANCISCO DIVISION

15   TANSEER KAZI and LINDA SCHEID,
     individually and on behalf of all those similarly
16   situated,                                           Case No.: 3:18-cv-04810-J CS

17                           Plaintiffs,                 DECLARATION OF MICHAEL SMILES
                                                         IN OPPOSITION TO CLASS
18   vs.                                                 CERTIFICATION

19   PNC BANK, N.A., and DOES 1-100 inclusive,           [Hon. Mag. Judge Joseph C. Spero]

20                           Defendants.

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                    DECLARATION OF MICHAEL SMILES - CASE NO.: 3:18-CV-04810-J CS
     303762399 v7
         Case 3:18-cv-04810-JCS Document 91-17 Filed 01/29/20 Page 2 of 18



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 ‫ ۼ‬õb‫ۼ‬ę͹ǡ͉ŠɄϾ‫ۼ‬Ŕ8ͺϿɅ‫׀‬c‫͊ۼ‬Ɇ՚ɇǖ۪‫ۼ‬ȍɈȊХš՛ɉ‫ۼ‬ǁ ‫رׁۼ‬ǏɊÌ‫ۼ‬
 °‫ۼ‬                 ù‫ۼ‬űц‫ۼۼ‬ŕɪѵΏӡէ‫ۼ‬ÚӢ8ԹЅΐ)ҾǪɫ‫ۼ‬ŖԺɬǫΑ$ІΒ‫̗ۼهח‬ը‫ۼ‬ŉİÛ‫ۼ‬ěԲ֔‫̱و‬Ų̲ɭe‫ۼ‬ų‫ۼ‬æΓ‫ڸ‬Δ‫ט‬ΕӣѶ‫ۼ‬Ӥ̇‫ۼ‬ŊıÜ‫ۼ‬ÓǊf
 ¸‫ ۼ‬ĪÐ‫\ۼ‬TŃīÕU_‫ ۼ‬ń֥Ӆ՜‫زۼ‬ӆ‫ۼ‬9۫‫ۼ‬Ǣְɋѡ‫ۼس‬ԵӇׂͻ‫ͼش‬ӈѢd‫ۼ‬ö‫ۋۼ‬Ţ‫ۼ׃‬ɌмLӉ۬ɍ*‫ۼ‬Ǘۭ‫ۼ‬ŅĬÖ‫͋صۼׄۼ‬Ɏ‫ۼ‬Ěӊֱ̦ţ̧ɏ‫ۼ‬ăǣɐӃͽ‫ڶ‬ɑ‫ۼ‬

 ¼‫ ۼ‬ÑȎ:;ѣͿ‫ضׅ‬՝Ť‫΀ط‬ӋѤ‫ڠ׆ۼ‬Զɒֽ΁‫ׇ‬ӌ՞‫ۼ‬ťѥȏ‫ۼ‬нǂŦ̨ɓ՟‫̣ۼ‬Ӎо‫ۼ‬п΂Ȑr·‫͵ظۼ‬J‫ۼ̩͌ڡ‬р΃ȑs Éz‫ۼ‬ś͍΄‫ۼ׈‬Ȓ.ȋЦŧ֒ƴ‫΅ع‬ӎѦ‫ۼ‬Ά‫ۼ׉‬ǘŨ‫׊‬ɔȓ‫ۼ‬

 ¿‫ ۼ‬ӏѧ‫ۼ‬с‫ۼۮ‬Էɕՠ‫׋‬ӐѨũЀ‫ۼ‬ϸѩӑ‫ی‬ЁɖȔ̪ɗ‫ۼ‬ŪѪȕ‫ۼ‬ϽӒ‫ۍ‬ЂɘȖ̫ə‫̬ۼ÷ۼ‬ū·ѫɚȗ‫غۼ‬Ͷӓ‫ۼ͎̭ڢ‬т‫ۼۯ‬уŬѬŭ̮ɛфɜѭ‫֯ۼػ‬Ѓɝ‫ۧۼ‬6‫ۼ͏ؼ‬ņĭ×‫ۼ‬ǃȘ‫ۼ‬
 Â‫̤ ۼ‬Ӕ‫ۼ‬х۰‫ۼ‬Ǥ‫ؽ׌‬ӕ ۱‫(ۼ‬ș‫ۼ‬ǥӖѮ‫ؾ‬աӗЄ‫ۼ‬Ә̆‫ۼ‬ŇĮØ‫ۼ‬բɞǦәգȚ‫ۼ{׍‬ø‫ۼ‬ƿ‫׎‬Ӛ‫ؿۼ‬ɟ‫ـ׏‬Έ̔ɠ ‫ۼ‬Ů‫͐فۼא‬ɡ‫ۼ‬ǧӛ֟MӜ֓Ƶ‫ق‬ɢ‫ۼ‬դɣԸɤ‫ב‬ɥѯ‫ك‬ů‫ل‬Ή‫ڷ‬ɦ‫̖ۼ‬ե‫ۼ‬ňįÙ‫ۼ‬

 Å‫ ۼ‬ΊѰ‫͑مۼ‬΋‫ۼג‬ǨŰ‫ד‬ɧ‫ۼ‬ӝѱ‫ۼ‬Ֆ‫نהڣ‬ΌӞ‫ۼו‬զɨ̯ƽț΍Ѳ̰‫ۼ‬ǩӟ;Nɩѳ‫ڛ!ז‬ΎӠѴ‫ۼ‬
           £|      Ąҽ‫<ۼ‬۲‫ۼ‬чӥֲ̳Ŵ̴ɮ‫ۼ‬ΖѷǬɯѸ‫ى‬Η‫ڹ‬ɰ‫ۼ‬шǄ̵ɱ<ɲѹ‫ۼي‬ԻӦ‫י‬ΘًΙFѺg‫ۼ‬ú‫ךۼ‬Լ/‫־‬Κ‫כ‬ɳȜ‫ۼ‬ŵ‫ٌۼ‬ɴŶщ‫ۼ‬ӧ̈‫@ۼ‬ŷЇ۳‫͒ێۼםٍל‬Ө

‫ۏ ۼ‬ɵթɶ‫ۼ‬ժɷ‫מ‬Խөѻ‫ן‬ΛǙ7ɸ‫̘ۼ‬ի‫َ͓ۼ‬ɹ‫ۼ‬Ÿ-=ΜѼΝ‫ُِ֣נ‬ΞӪѽ‫ۼ‬ӫ̉‫ۼ‬ŋĲÝ[‫ۼס‬ъӬ̶ֳŹ̷ɺ‫ۼ‬Ο@ǭɻӄΠ‫ں‬ɼ‫ۼ‬ԾЈǅ‫ۼע‬û‫ۼ‬ƺѠ‫ڻۼףڤّ͔ۼ‬ɽO‫>̊ۼ‬ΡЉ΢լ‫ۼ‬
‫ې ۼ‬Σْ͕‫͖ٓۼ‬ɾ‫ۼ‬Ǯӭ:ԿɿѾ‫פ‬źPΤӮѿ‫ۼ‬ՀŻΥȝ‫ٔۼ‬G‫ۼ‬Ĝӯ̸ִ̹1‫ۼ‬ĈӰǆ‫ۼ‬ķ̋̕ǯʀխ‫]ۼץ‬Xĝĉ‫צ‬V`‫ۼ‬ΦҀ‫ۼ‬Þ%жΧ̙֪Ψż‫̥ۼ‬ӱ‫ۼ‬¤²‫ٕۼ‬4֜H‫ۼ̺͗ڥ‬
¥‫ ۼ‬ыΩȞt¦Ê‫ ۼ‬ҁ+‫͘ۼ‬Ӳ‫ۼۑ‬QͲ‫ۼڜ‬ǰӳьՁʁ҂‫ٖ!ק‬ΪI҃‫ےۼ‬Ž‫ڲ֕ٗשۼר‬Ǳ‫֠ڟ‬ʂȟ‫ۼ‬ž҄Ƞ‫ ۼ‬0٘ʃ֧Ϋʄ ‫ۼ‬ü‫ۼ‬ſЊ‫ת‬Ӵ‫͙ۼ‬ʅЋՂʆ ‫ۼ‬ӵ‫ڼ‬ʇծ‫׫‬ʈʉ‫ۼ‬͚ٙʊ‫ۼ‬

³‫ ۼ‬ՃկʋՄ֙ƀٚάӶ҅‫ۼ‬Ǉȡ‫ۼ‬Ɓέ҆ٛʌ҇Ƃ҈ǲʍ‫ۼ‬ӷ̌‫ۼ‬ǳӸ?Յʎ҉‫׬‬ǐήӹҊ‫ۼ‬հʏǴӺձ ‫ۼ׭‬P2"ٜ‫ۼ‬ǵӻҋٝƃίҌ‫ۼ‬ΰҍ֨̚"ٞαӼҎ‫ۼ‬ղʐǶӽճȢʑ*‫ۼ‬Ƅٟ‫ۼ‬Ӿմ‫ۼ‬Aʒǋ‫ۼ‬
º‫ ۼ‬٠͛ʓ‫ۼ‬Qβэʔ‫ۼ‬ӿ̍‫ڝۼ‬2ʕ‫ۼ‬ƅǷ١‫׮‬h‫ۼ‬ʖ‫ڽ‬ʗҏ٢‫ׯ‬i‫ۼ‬Ԁյ‫ۼ‬ǸԁҐȣγ٣5ԂB‫ۼװ‬δґȤεǹƆ٤ʘȥ‫ۼ‬RͳʙնʚζҒ‫ۼ‬
½‫ۼ‬          ±}      ßƇЌη̛֫θƈ‫ۼ‬ĞĊĸ‫ۓۼױ‬ʛշʜ‫̻ۼ‬ʝғʞ֖ƶЧ۴‫ۼ‬ǺюLʟҔ‫ײ‬#٥ʠȦ‫ۼ‬ιB‫ۼ‬٦ͷʡ1‫ۼ‬+κ‫׳‬٧λҕǻ٨‫۔ۼ‬ǔ‫ۼ״‬ýӀRμƉШ۵j‫ۼ‬ċ‫ۼ‬Ĺ‫׵‬

À‫ە ۼ‬ʢոʣ‫ۼ‬ՆƷϵȧ‫ۼ‬#‫׶ۼ‬ƊЍƋֿ‫ ۼ‬ŗʤǼԃҖȨk‫ۼ‬ğČĺ‫͜ۼ׷‬ȩ‫ۼ‬٩͝ʥ‫ۼ‬HՇՈԄֵҗν٪۶‫ۼ‬٫ԅ‫ۼ‬ʦƌ֬‫ۼ‬ƍȪȫξ٬οԆҘƎЎ‫ۼ‬πҙǽʧҚ‫٭‬ρ‫ھ‬ʨ‫ۼ‬ǾԇяՉ0қ‫׸‬Ə‫ٮ‬ςԈҜ‫ۼ‬
Ã‫ڳ ۼ‬Ȭʩչ‫͞ٯۼ‬ʪ‫ۼ‬Ōĳà‫ۼ‬Ġԉֶ̼Ɛ̽ʫ‫ۼ‬Ļ֞϶̾σҝٰτԊҞ‫ۼ׹‬þҟǿʬҠ‫ٱ‬υ‫ڿ‬ʭ‫ۼ‬ōЏC‫^ۼ‬YŎАƑҡWa‫ۼ‬îφҢƒЩЪ۷l‫׺ۼ‬ԋѐʮ‫ۼ‬ġčļ‫ۖۼ׻‬ʯպʰ‫ۼ‬MջԌ‫ۀ‬χȭʱ,‫ۼ‬

Æ‫ ۼ‬Ȁԍң‫ٲ‬ψҤ̿ʲҥ‫ۼٳ‬ԎҦǚԏǌȮωҧ̀‫ۼ‬ϊȁʳҨ‫ٴ‬ϋ‫ہ‬ʴ‫ۼ׼‬Գ֗‫ۼ‬F‫͟ٵ‬ʵռ‫ڵۼ‬՗‫ڦ‬ʶ‫ۼ‬όҩȂʷC‫ٶ‬ύ‫ۂ‬ʸ‫ۼ‬ǛԐҪ‫ۼ׾ʹ׽ڧ‬Ɠ‫ۼ׿‬ȯʺ‫ٷ‬ʻ֩ώҫʼȰ‫ۼ‬ǜ۸‫=ۼ‬ԑַ́Ɣ͂ʽ‫ۼ‬
Ë‫ ۼ‬ёƕҬƖ̓ʾђʿD‫ۼښ‬ÿҭ‫ۼ‬ƗȱȲϏ‫ٸ‬ϐԒD‫ٹۼ‬ԓ‫ٺۼ‬3ˀ‫؀‬ˁ‫ٻۼ‬͸˂˃‫ۼ‬ѓ˄‫ʹڞ‬Ԕȳ‫ۼ؁‬ԕ̎‫ۼ‬ȃԖєՊ˅Ү‫؂‬Ǒ6JAm‫ۼ‬ŏĴá‫ۼ‬ƘБ‫؃‬ԗ‫ۼ‬Ջƙϑ-‫ۼ‬$ЫЬ‫֝ۼ‬.Вˆ‫ۃ‬ǈ‫ۼټ‬

§‫ ۼ‬Ԙ‫ָˇۄ‬ϒѕˈ‫ۼ‬9K‫ٽڨ‬؄‫ۼ‬ȴˉ‫ˊۗ͠ۼ‬ү‫ۼ‬ĢĎĽ؅‫ۘۼ‬ԙսϹˋȵ‫ۼ‬Ԛ‫ֹˌۅ‬ϓ>ˍ‫͡ۼ‬KSվ؆‫ۼ‬Ŝ͢/‫̜ۼ‬ЭЮԛۙϔ̈́‫ۼ‬Ռ'ƚͅտՍ4؇‫ۨˎۼ‬ՎГƛϕҰ‫ ˏۼ‬Ȅͣ‫ۼ‬

¨‫ ۼ‬Ԝ̏‫ͤپۼ‬ː؈ˑ‫ۼ‬і˒‫ͥٿ‬ԝȶ؉‫ۼ‬Ԟ̐‫ۼ‬ȅԟїՏ˓ұ؊Ɯ‫ڀ‬ϖԠҲ‫ۼ‬
¡¢‫ۼ‬          ¹~      ģďľ‫ۼ‬ŘƝДƞրϗ˔؋Í‫ۼ‬ĤĐĿ،‫ۼ‬Ϙҳ‫ۼ‬âƸз5̝֭ϙƟ‫˕ۚۼ‬ց˖‫ۼ‬ՐƠϚ,‫ۼ‬ơҴ‫ۼ‬ƢӁ‫ک‬ƣЕ‫؍ۼ‬ƤЖ֚۹‫̞ۼ‬ւ‫ۼ‬ƥЯа‫ځۼ‬ϛј˗‫ۺ˘ͦڂۼ‬

©´‫ۛ ۼ‬ԡփϺ˙ȷ‫ڪۼ‬Ց‫ڃۼ‬Ԣ‫ͧۼּ̟ۼ‬ԣS֡؎‫ۼ‬Ւ˚ք‫˜˛ۜۼ‬ϻ‫ۼ‬ŝͨ˝‫؏ۼ‬ƦЗǍ‫ۼؐګͩڄۼ‬ȆԤ‫˞ۆ‬օ˟ȸ‫ۼ‬Ƨкл‫ؑۼ‬ƹиˠؒ‫ۼ‬ǉȹ‫ۼ‬ҵԥҶuؓ Иˡؔ‫ ۼ‬ȇ‫څ‬Ϝ‫ۇ‬ϝ‫چ‬Ϟˢؕ‫ۼ‬ƻҿȺ‫ۼ‬
ª»‫ ۼ‬ֆˣ‫ؖ‬NԦҷ‫ؗ‬ϟǝϠЙϡ‫ڇ‬Ϣ‫ͪ۝ۼؘ‬ϣКˤ‫ۼ‬ԧҸ‫ۼ˥ͫڈۼ‬ϷǞn‫ۼ‬ϤEȌб‫ڬ‬Ȼϥҹ͆‫ۼ‬և˦‫ۼډؙ‬Փ˧֦Gȼ‫ۼؚ‬ĥđ‫ۼ؛‬%Л‫ۼ؜‬ֈ˨Ȉ˩Ϧ‫˪ۈ‬Ƚ‫ۼ‬ƨȾȿϧ‫ڊ‬ϨԨƩМ‫ۼ‬I‫ֺ˫ۉ‬ϩ;ˬ‫ۼ‬Ք ‫ۼۻ‬
«¾‫ۼ‬   ǒ‫ۼ˭ͬڋۼ‬։ˮ՘‫ڭ‬Ϫ֊˯ɀ‫ڌۼ‬ϫљ˰vҺɁwƪxͭƫН̑‫ۼ‬ԩ֋‫ۼ‬ɂԪ‫ڮ‬ǟО˱y‫ڍ‬Ϭ?˲‫&ۼ֌̠ۼ˳ڎ֤ۼ‬вг‫ۼ‬ԫ‫ֻ˴ۊ‬ϭњ‫ͮۼ‬Ԭ֢‫۞ۼ؝‬Դ֘ϼ˵Ƀ‫ۼ‬Şͯ˶‫ۼ‬ƼE‫ گ‬7‫؞ۼ‬ƬП 

¬Á‫ۼ֍̡ ۼ‬ћԭ‫ۼڏ؟‬ã&йϮ̢֮ƭ‫ۼ‬Ēŀ‫ۼء'۟ۼؠ‬                  Ǡ‫ۼ۠̓ۼ(ۼڐ‬ĦēŁ‫ۼ˸֎˷ۡۼآ‬Օϯ ‫ۼ‬Ԯ‫أۼ֏˹Ͱڑ‬ƮРǎ‫ۼ‬ǀԯ‫ۼؤڒڴ‬

®Ä‫ ۼ‬Ő˺͇֛ С˻‫ئإ‬q‫ۼ˼ͱړۼ‬Ưӂ Т‫ اۼ‬УƾO‫ۢۼ‬ư‫تۼڔ˽ةۼب‬԰‫ڕۼ‬3Ʊ‫ۼږ‬ϰ‫ۼث)ۣۼڗ‬ƲФۤǕ‫˾ۥۼج‬де‫ۼ‬ϱ‫۩˿ۼ‬ȉ̀‫ۼخح‬Ա̒‫ژدۼ‬Ǔ́‫ۼ‬ќϲһϳѝ‫ڰ‬ў‫ۦۼ‬Ƴ͈̂‫ۼ‬
¯È‫̃֐ ۼ‬ՙ‫ڱ‬ϴ֑̄џ̅Ҽ‫ۼذڙ‬


                                  çëĔÒŒşĀĵ‫ۼ‬łï‫ۼ‬ħāäñĕ‫ۼ‬ĨĂĖìř‫ۼ‬
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Case 3:18-cv-04810-JCS Document 91-17 Filed 01/29/20 Page 3 of 18




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Case 3:18-cv-04810-JCS Document 91-17 Filed 01/29/20 Page 5 of 18




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Case 3:18-cv-04810-JCS Document 91-17 Filed 01/29/20 Page 11 of 18




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Case 3:18-cv-04810-JCS Document 91-17 Filed 01/29/20 Page 12 of 18




                          $BTF/PDW+$4
Case 3:18-cv-04810-JCS Document 91-17 Filed 01/29/20 Page 13 of 18




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EXHIBIT 
           Case 3:18-cv-04810-JCS Document 91-9 Filed 01/29/20 Page 1 of 7

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12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15   TANSEER KAZI and LINDA SCHEID,
     individually and on behalf of all those similarly
16   situated,                                           Case No.: 3:18-cv-04810-J CS

17                          Plaintiffs,                  DECLARATION OF ANTHONY LOCY IN
                                                         OPPOSITION TO CLASS
18   vs.                                                 CERTIFICATION

19   PNC BANK, N.A., and DOES 1-100 inclusive,           [Hon. Mag. Judge Joseph C. Spero]

20                          Defendants.

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                                  DECLARATION OF ANTHONY LOCY
                                       &DVH1RFY-&6
           Case 3:18-cv-04810-JCS Document 91-9 Filed 01/29/20 Page 2 of 7



 1                                DECLARATION OF ANTHONY LOCY

 2

 3   I, Anthony Locy, hereby declare as follows:

 4             1.   I am a Mortgage Loan Officer (“MLO”) with PNC Bank, NA. (“PNC”). I have held

 5   this position for a little over one year, having joined PNC Bank in October, 2018. I have worked in

 6   the mortgage loan industry for approximately 31 years. My principal office is located at 5700

 7   Stoneridge Mall Rd., Pleasanton, CA. This declaration is provided based on my personal

 8   knowledge.

 9             2.   My responsibilities as an MLO require that I perform a variety of tasks, but the

10   principal focus of my work is generating mortgage loan sales. I participate in training, sales

11   meetings and other activities as part of my job.

12             3.   For my work at PNC, I am paid a variety of types of compensation. Some aspects of

13   my compensation are outlined in the job offer letter I received at the commencement of my work at

14   PNC, other aspects are detailed in the PNC Mortgage Originations Incentive Plan and Addendum A

15   (the “Incentive Plan”), and still other aspects are offered and explained to me by my manager.

16             4.   I am not sure exactly what compensation other MLOs receive, but I do know that

17   MLOs receive compensation that varies greatly for each MLO. It varies because there are a wide

18   range of potential payments an MLO might receive, from salary, to onboarding incentives (signing

19   bonuses) of differing amounts, to referral fees of differing amounts, to flat fee payments received for

20   helping recruit new MLOs to work at PNC. Some of the incentive payments relate directly to

21   mortgage loan originations, some relate indirectly to loan originations, and others have no

22   relationship whatsoever to loan originations. All of these different types of payments compensate

23   me and other MLOs for all of our work on the job.

24             5.   More specifically, as stated in my offer letter, I am paid an annual salary for a 40-

25   hour workweek. I am a non-exempt employee. Because the salary only pays for the first 40 hours

26   each week, I am also eligible to receive overtime. PNC pays my salary on a bi-weekly basis

27   regardless of whether I have closed any loans. I have been successful in closing loans, so I have

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                                  DECLARATION OF ANTHONY LOCY
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           Case 3:18-cv-04810-JCS Document 91-9 Filed 01/29/20 Page 3 of 7



 1   never had to rely solely on my base salary as my income. I never been asked to write a check back

 2   or to otherwise return any of my salary to PNC.

 3             6.   My offer letter also explained that, in addition to my salary, I was entitled to receive

 4   an onboarding incentive payment that I understood was negotiable, but I determined the proposed

 5   incentive amount offered to me by PNC was fair based upon my background, and I accepted the

 6   onboarding incentive amount offered. That payment, in the amount of                was a contingent

 7   payment made to me over my first two months of employment. I understood that this incentive was

 8   intended to provide me with sufficient compensation as I built a flow of work. I also understood that

 9   the contingency in the payment would be removed if I remained employed for a predetermined

10   period of time, and that the amount was not earned until that time had passed. I received my full

11   onboarding payment, the contingency was removed, and I earned my onboarding incentive. The

12   onboarding incentive was in addition to, and completely unrelated to any amount I would earn under

13   the Incentive Plan on mortgage loan sales I generated.

14             7.   My offer letter further explained that in addition to the onboarding incentive payment

15   previously described, as another onboarding incentive,

16                                                                 This was a special arrangement for me

17   designed as further enticement for me to join PNC.

18

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20                                   I was successful in my sales of loans at PNC, and earned the

21                        afforded by this special incentive.

22             8.   My offer letter also explained that, in addition to my salary and onboarding

23   incentives, I was eligible to earn standard incentive compensation for loan originations under the

24   Incentive Plan. The Incentive Plan and Addendum documents have changed over time and, with

25   each change, we are provided the new document, asked to review it, and are required to

26   acknowledge our understanding. The documents are also available online for review at any time.

27             9.   I understand that Plaintiff Tanzeer Kazi testified that a one-page summary document

28   labeled PNC 001001 was the Incentive Plan under which he was paid. I have reviewed that
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                                  DECLARATION OF ANTHONY LOCY
     304006865 v2                       &DVH1RFY-&6
           Case 3:18-cv-04810-JCS Document 91-9 Filed 01/29/20 Page 4 of 7



 1   document and can confirm that, although it summarizes some Incentive Plan information, it is not

 2   the full Incentive Plan under which I was paid. The Incentive Plan documents were far more

 3   detailed.

 4             10.   Although the Incentive Plan is complex and can be difficult to understand for people

 5   who are not in the industry, and it periodically changes, I have worked in the industry for a long time

 6   and have no trouble understanding the arrangements. Moreover, when I have had any questions, my

 7   managers have explained the Incentive Plan to me, they are accessible to answer any questions I

 8   have about it, and PNC provides me with access to other detailed documents including earnings

 9   statements that outline all of the relevant components and calculations.

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25             11.   Finally, in addition to my salary onboarding incentive and any pay under the

26   Incentive Plan, I have also received other bonus compensation outside of the Incentive Plan. For

27   example, I received a generous          bonus from PNC earlier this year as a result of the changes in

28   federal tax laws that decreased taxes on certain corporate entities.
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                                  DECLARATION OF ANTHONY LOCY
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           Case 3:18-cv-04810-JCS Document 91-9 Filed 01/29/20 Page 5 of 7



 1             12.   I understand that, in this lawsuit, Plaintiffs contend that MLOs are not paid for rest

 2   breaks and other activities not directly related to sales. That is not true with respect to me and the

 3   compensation arrangements that I have agreed to with PNC. I agreed that the above described

 4   compensation PNC provides to me pays for all my time at work, including time originating loans,

 5   taking rest breaks (which I take), attending training and sales meeting, and engaging in other

 6   activities. For example, my salary covers all work time regardless of its nature, and many other

 7   types of compensation, including onboarding incentives, periodic bonuses and awards, and

 8   incentives calculated under the Incentive Plan, are not limited to production activities and cover all

 9   time at work regardless of its nature. PNC policy requires me to report all time that I work, and I am

10   clocked-in during all time periods at work, except when I clock out and back in for a meal break.

11   PNC policy also requires me to take rest and meal breaks, and I am allowed to and do take them at

12   times that are convenient for me in compliance with the policy.

13             13.   I have been paid all sums owed to me by PNC, I have never been asked to return any

14   part of the salary or contingent payments I received, and I have never written a check or otherwise

15   paid back any of those payments.

16             14.   I participate in training activities that are designed to comply with industry and

17   company policies, procedures, rules, and regulations, to keep me current, and to help me become a

18   better salesperson. As mentioned above, I am paid for my participation in training. I should note,

19   however, that there are times when I am credited for training when I don’t have to complete the full

20   training course because I have tested-out of the full course. To the best of my knowledge, PNC does

21   not keep any records as to whether I have tested-out; only that I have been credited with completing

22   the course. The ability to test-out usually occurs because the course has been offered in the industry

23   in prior years, I have taken the course before, and I have a pretty good memory and am able to

24   answer the pre-test questions pretty easily. The only way to determine whether I actually took a full

25   training course being offered is to ask me, and I can tell you my individual circumstance, assuming I

26   remember.

27             15.   I am also aware that training courses typically state an amount of time a full course is

28   anticipated to take to complete. For example, some courses indicate they will take 60 minutes to
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                                   DECLARATION OF ANTHONY LOCY
     304006865 v2                      &DVH1RFY-&6
Case 3:18-cv-04810-JCS Document 91-9 Filed 01/29/20 Page 6 of 7




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 1                                    CERTIFICATE OF SERVICE
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               I am employed in the county of Los Angeles. I am over the age of 18 and not a party to the
 3
     within action; my business address is: 10100 Santa Monica Blvd., 8th Floor, Los Angeles, CA
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     90067.
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               On November 1, 2019, I served the document(s) described as:
 6
                                  DECLARATION OF ANTHONY LOCY
 7
         The undersigned certifies that the document listed above was filed this November 1, 2019.
 8
      Notice of this filing will be sent to all parties in this case listed below by operation of the Court’s
 9
     electronic filing system (ECF). Parties may access this filing via the Court’s ECF system.
10

11
               I declare under penalty of perjury under the laws of the United States of America that the
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     foregoing is true and correct.
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               Executed on November 1 2019, at Los Angeles, California.
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16                                                  /s/ Saman M. Rejali
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                                         CERTIFICATE OF SERVICE
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     F: +1.206.623.7022
10
     Attorneys for Defendant PNC Bank, N.A.
11

12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15   TANSEER KAZI and LINDA SCHEID,
     individually and on behalf of all those similarly
16   situated,                                           Case No.: 3:18-cv-04810-J CS

17                          Plaintiffs,                  DECLARATION OF KYLE BEAGLE IN
                                                         OPPOSITION TO CLASS
18   vs.                                                 CERTIFICATION

19   PNC BANK, N.A., and DOES 1-100 inclusive,           [Hon. Mag. Judge Joseph C. Spero]

20                          Defendants.

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                                    DECLARATION OF KYLE BEAGLE
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 1                                    CERTIFICATE OF SERVICE
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     within action; my business address is:10100 Santa Monica Blvd., 8th Floor, Los Angeles, CA 90067.
 4
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                                   DECLARATION OF KYLE BEAGLE
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11
     foregoing is true and correct.
12
               Executed on November 1 2019, at Los Angeles, California.
13

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15                                                  /s/ Saman M. Rejali
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12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15   TANSEER KAZI and LINDA SCHEID,
     individually and on behalf of all those similarly
16   situated,                                           Case No.: 3:18-cv-04810-J CS

17                          Plaintiffs,                  DECLARATION OF JEFF RHODES IN
                                                         OPPOSITION TO CLASS
18   vs.                                                 CERTIFICATION

19   PNC BANK, N.A., and DOES 1-100 inclusive,           [Hon. Mag. Judge Joseph C. Spero]

20                          Defendants.

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                                    DECLARATION OF JEFF RHODES
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 1                                    CERTIFICATE OF SERVICE
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     within action; my business address is: 10100 Santa Monica Blvd., 8th Floor, Los Angeles, CA
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     90067.
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               On November 1, 2019, I served the document(s) described as:
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                                    DECLARATION OF JEFF RHODES
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         The undersigned certifies that the document listed above was filed this November 1 2019.
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     foregoing is true and correct.
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               Executed on November 1 2019, at Los Angeles, California.
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16                                                  /s/ Saman M. Rejali
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                                         CERTIFICATE OF SERVICE
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     F: +1.206.623.7022
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11

12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15   TANSEER KAZI and LINDA SCHEID,
     individually and on behalf of all those similarly
16   situated,                                           Case No.: 3:18-cv-04810-J CS

17                          Plaintiffs,                  DECLARATION OF DAVID DEGLOW IN
                                                         OPPOSITION TO CLASS
18   vs.                                                 CERTIFICATION

19   PNC BANK, N.A., and DOES 1-100 inclusive,           [Hon. Mag. Judge Joseph C. Spero]

20                          Defendants.

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 1                                DECLARATION OF DAVID DEGLOW

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 4   I, David Deglow, hereby declare as follows:

 5             1.   I am a Mortgage Loan Officer (“MLO”) with PNC Bank, NA. (“PNC”). I began

 6   work with National City Bank (“NCB”) in 2003 as a Loan Officer. In 2009, NCB was acquired by

 7   PNC, and I have remained employed with PNC since that time. My principal office is located at 591

 8   Camino de la Reina, San Diego, California. This declaration is provided based on my personal

 9   knowledge.

10             2.   My responsibilities as an MLO require that I perform a variety of tasks, but the

11   principal focus of my work is generating mortgage loan sales. I also participate in training, sales

12   meetings and other activities as part of my job.

13             3.   To the best of my knowledge, I am paid in the same way as all other MLOs. That

14   means I am paid a variety of types of compensation for my work at PNC. I am paid an annual salary

15   for a 40-hour workweek. I am a non-exempt employee. Because the salary only pays for the first 40

16   hours each week, I also receive overtime. PNC pays my salary on a bi-weekly basis regardless of

17   whether I have closed any loans. I have been successful in closing loans, so I have never had to rely

18   solely on my base salary as my income. I have never been asked to write a check back or to

19   otherwise return any of my salary to PNC.

20             4.   In addition to my salary and overtime, I am eligible to earn standard incentive

21   compensation for loan originations under the PNC Mortgage Originations Incentive Plan and an

22   Addendum A to the Incentive Plan (the “Incentive Plan”) for MLOs in California. The Incentive

23   Plan documents are detailed, they have changed over time and, with each change, we are provided

24   the new document, asked to review it, and are required to acknowledge our understanding. The

25   documents are also available online for review at any time.

26             5.   Although the Incentive Plan is complex and can be difficult to understand for people

27   who are not in the industry, and it periodically changes, I have worked in the industry for a long time

28   and have no trouble understanding the arrangements. Also, when changes are made to the Plan,
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                                  DECLARATION OF DAVID DEGLOW
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           Case 3:18-cv-04810-JCS Document 91-5 Filed 01/29/20 Page 3 of 6



 1   there is always a conference call held to explain the changes. Moreover, when I have had any

 2   questions, my managers have explained the Incentive Plan to me, they are accessible to answer any

 3   questions I have about it, and PNC provides me with access to other detailed documents including

 4   earnings statements that outline all of the relevant components and calculations.

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16             6.   In addition to my salary onboarding incentive and any pay under the Incentive Plan, I

17   have also received bonus compensation outside of the Incentive Plan. For example, I received a

18   generous         bonus from PNC earlier this year as a result of the changes in federal tax laws that

19   decreased taxes on certain corporate entities.

20             7.   I understand that some MLOs receive an onboarding incentive payment when they

21   join PNC. I was not paid an onboarding incentive.

22             8.   I am not sure exactly what compensation other MLOs receive, but I do know that

23   MLOs receive compensation that can vary greatly for each MLO. It varies because there are a wide

24   range of potential payments an MLO might receive, from salary, to onboarding incentives (signing

25   bonuses) of differing amounts, to referral fees of differing amounts, to flat fee payments received for

26   helping recruit new MLOs to work at PNC. Some of the incentive payments relate directly to

27   mortgage loan originations, some relate indirectly to loan originations, and others have no

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                                  DECLARATION OF DAVID DEGLOW
     304004918 v2
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           Case 3:18-cv-04810-JCS Document 91-5 Filed 01/29/20 Page 4 of 6



 1   relationship whatsoever to loan originations. All of these different types of payments, to the extent

 2   they are earned, compensate me and other MLOs for all of our work on the job.

 3             9.    I understand that, in this lawsuit, Plaintiffs contend that MLOs are not paid for rest

 4   breaks and other activities not directly related to sales. That is not true with respect to me and the

 5   compensation arrangements that I have agreed to with PNC. I agreed that the above described

 6   compensation PNC provides to me pays for all my time at work, including time originating loans,

 7   taking rest breaks (which I take), attending training and sales meeting, and engaging in other

 8   activities. For example, my salary covers all work time regardless of its nature, and many other

 9   types of compensation, including onboarding incentives, periodic bonuses and awards, and

10   incentives calculated under the Plan, are not limited to production activities and cover all time at

11   work regardless of its nature. PNC policy requires me to report all time that I work, and I am

12   clocked-in during all time periods at work, except when I clock out and back in for a meal break.

13   PNC policy also requires me to take rest and meal breaks, and I am allowed to and do take them at

14   times that are convenient for me in compliance with the policy.

15             10.   I have been paid all sums owed to me by PNC, I have never been asked to return any

16   part of the salary or contingent payments I received, and I have never written a check or otherwise

17   paid back any of those payments.

18             11.   I participate in training activities. As mentioned above, I am paid for my

19   participation in training. There are times when I am credited for training when I don’t have to

20   complete the full training course because I have tested-out of the full course. To the best of my

21   knowledge, PNC does not keep any records as to whether I have tested-out; only that I have been

22   credited with completing the course. The ability to test-out usually occurs because the course has

23   been offered in the industry in prior years, and I have taken the course before. The only way to

24   determine whether I actually took a full training course being offered is to ask me, and I can tell you

25   my individual circumstance, assuming I remember.

26             12.   I am also aware that training courses typically state an amount of time a full course is

27   anticipated to take to complete. For example, some courses indicate they will take 90 minutes to

28   complete. However, I am almost always able to complete the course in substantially less than the
                                                3
                                   DECLARATION OF DAVID DEGLOW
     304004918 v2
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Case 3:18-cv-04810-JCS Document 91-5 Filed 01/29/20 Page 5 of 6




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           Case 3:18-cv-04810-JCS Document 91-5 Filed 01/29/20 Page 6 of 6



 1                                    CERTIFICATE OF SERVICE
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16                                                  /s/ Saman M. Rejali
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           Case 3:18-cv-04810-JCS Document 91-7 Filed 01/29/20 Page 1 of 7
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 8   Seattle, WA 98104-1158
     United States of America
 9   P: +1.206.623.7580
     F: +1.206.623.7022
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12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15   TANSEER KAZI and LINDA SCHEID,
     individually and on behalf of all those similarly
16   situated,                                           Case No.: 3:18-cv-04810-J CS

17                          Plaintiffs,                  DECLARATION OF FRANCO LANTERI
                                                         IN OPPOSITION TO CLASS
18   vs.                                                 CERTIFICATION

19   PNC BANK, N.A., and DOES 1-100 inclusive,           [Hon. Mag. Judge Joseph C. Spero]

20                          Defendants.

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                                 DECLARATION OF FRANCO LANTERI
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           Case 3:18-cv-04810-JCS Document 91-7 Filed 01/29/20 Page 2 of 7



 1                               DECLARATION OF FRANCO LANTERI

 2

 3   I, Franco Lanteri, hereby declare as follows:

 4             1.    I am a Supervising Mortgage Loan Officer (“SLO”) with PNC Bank, NA. (“PNC”). I

 5   have held this position for approximately a year and a half, having started in the position in April,

 6   2018. Prior to that, I was a Mortgage Loan Officer (“MLO”) at PNC, having joined in April, 2014.

 7   My principal office is located at 49 Discovery, Irvine, CA. This declaration is provided based on

 8   my personal knowledge.

 9             2.    My responsibilities as an SLO are primarily twofold: First, I have the same

10   responsibilities as MLOs, that is, primarily focusing on generating mortgage loan sales. Second, I

11   help a team of MLOs to better develop their marketing efforts in order to be able to build more

12   mortgage loan business for themselves and for PNC. I also participate in training, sales meetings,

13   and other activities.

14             3.    For my work at PNC, I am paid a variety of types of compensation.

15   Like MLOs, I am paid an annual salary for a 40-hour workweek. I am a non-exempt employee.

16   Because the salary only pays for the first 40 hours each week, I am also eligible to receive overtime.

17   PNC pays my salary on a bi-weekly basis regardless of whether I have closed any loans. I have been

18   successful in closing loans, so I have never had to rely solely on my base salary as my income. I

19   have never been asked to write a check back or to otherwise return any of my salary to PNC.

20             4.    When I was originally hired as an MLO at PNC in 2014, I did negotiate and received

21   an onboarding incentive payment, the precise amount of which I do not recall.      I understood that

22   the onboarding incentive was intended to provide me with sufficient compensation as I built a flow

23   of work, that is was a contingency payment, that the contingency would be removed if I remained

24   employed for a predetermined period of time, and that the amount was not earned until that time had

25   passed. I received my full onboarding payment, the contingency was removed, and I earned my

26   onboarding incentive. The onboarding incentive was in addition to, and completely unrelated to any

27   amount I would earn on mortgage loan sales I generated.

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                                 DECLARATION OF FRANCO LANTERI
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           Case 3:18-cv-04810-JCS Document 91-7 Filed 01/29/20 Page 3 of 7



 1             5.   I am also eligible as an SLO to earn standard incentive compensation for loan

 2   originations under the PNC Mortgage Originations Incentive Plan and an Addendum A to the

 3   Incentive Plan (the “Incentive Plan”) for MLOs in California. The Incentive Plan documents have

 4   changed over time and, with each change, we are provided the new document, asked to review it,

 5   and are required to acknowledge our understanding. The documents are also available online for

 6   review at any time.

 7             6.   Although the Incentive Plan is complex and can be difficult to understand for people

 8   who are not in the industry, and it periodically changes, I have worked in the industry for a long time

 9   and have no trouble understanding the arrangements. Moreover, when I have had any questions, my

10   managers have explained the Incentive Plan to me, they are accessible to answer any questions I

11   have about it, and PNC provides me with access to other detailed documents including earnings

12   statements that outline all of the relevant components and calculations.

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           Case 3:18-cv-04810-JCS Document 91-7 Filed 01/29/20 Page 4 of 7



 1             7.    I have also received bonus compensation outside of the Incentive Plan. For example,

 2   I received a generous          bonus from PNC earlier this year as a result of the changes in federal

 3   tax laws that decreased taxes on certain corporate entities like PNC.

 4             8.    As an SLO, I also receive override payments based upon the mortgage loan

 5   productions of the team I lead. Those payments are made to me by PNC in exchange for the

 6   supervisory and assistance role I perform in helping the team to grow mortgage loan originations.

 7   The override payments for each SLO at PNC varies, depending upon the production levels of their

 8   team.

 9             9.    I am not sure exactly what compensation other MLOs receive. However, I do know

10   that compensation varies greatly among MLOs, and the reason for this variance. It varies because

11   there are a wide range of potential payments an MLO might receive, from salary, to onboarding

12   incentives (signing bonuses) of differing amounts, to referral fees of differing amounts, to flat fee

13   payments received for helping recruit new MLOs to work at PNC. Some of the incentive payments

14   relate directly to mortgage loan originations, some relate indirectly to loan originations, and others

15   have no relationship whatsoever to loan originations. All of these different types of payments

16   compensate me and other MLOs for all of our work on the job.

17             10.   I understand that, in this lawsuit, Plaintiffs contend that MLOs and SLOs are not paid

18   for rest breaks and other activities not directly related to sales. That is not true with respect to me

19   and the compensation arrangements that I have agreed to with PNC. I agreed that the above

20   described compensation PNC provides to me pays for all my time at work, including time

21   originating loans, taking rest breaks (which I take), attending training and sales meeting, and

22   engaging in other activities. For example, my salary covers all work time regardless of its nature,

23   and many other types of compensation, including onboarding incentives, periodic bonuses and

24   awards, and incentives calculated under the Plan, are not limited to production activities and cover

25   all time at work regardless of its nature. PNC policy requires me to report all time that I work, and I

26   am clocked-in during all time periods at work, except when I clock out and back in for a meal break.

27   PNC policy also requires me to take rest and meal breaks, and I am allowed to and do take them at

28   times that are convenient for me in compliance with the policy.
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                                  DECLARATION OF FRANCO LANTERI
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 1             11.   I have been paid all sums owed to me by PNC, I have never been asked to return any

 2   part of the salary or contingent payments I received, and I have never written a check or otherwise

 3   paid back any of those payments.

 4             12.   I also understand that some MLOs have not earned any incentive payments for

 5   substantial periods of time, but continue to receive their base salary -- which is intended to pay them

 6   for all of their work on the job, even when they are not successful salespersons. I know this

 7   happens. Let me say, however, that my observation over the last four years has been that it is

 8   extremely difficult for an MLO not to be able to earn sufficient incentives to receive more than a

 9   base salary. Given the low interest rates that have prevailed in the marketplace during this period,

10   my office has been overwhelmed with qualified borrowers requesting purchase and refinance

11   mortgage loans. Mortgage loan opportunities are falling into our laps. Consequently, if an MLO has

12   not earned more than a base salary during this period, then those MLOs simply are not working hard

13   enough.

14             13.   I participate in training activities that are designed help me become a better

15   salesperson. Indeed, such training is taken by all MLOs and is intended to help them become the the

16   kind of salesperson who consistently earns incentive payments materially above their base pay

17   salary. As mentioned above, I am paid for my participation in training. There are times when I am

18   credited for training when I do not have to complete the full training course because I have tested-

19   out of the full course. To the best of my knowledge, PNC does not keep any records as to whether I

20   have tested-out; only that I have been credited with completing the course. The ability to test-out

21   usually occurs because the course has been offered in prior years, and I have taken the course before.

22   The only way to determine whether I actually took a full training course being offered is to ask me,

23   and I can tell you my individual circumstance, assuming I remember.

24             14.   I am also aware that training courses typically state an amount of time a full course is

25   anticipated to take to complete. For example, some courses indicate they will take 60 minutes to

26   complete. However, I almost always complete those courses in about one-third of the designated

27   time. To the best of my knowledge, since no records are kept of the length of time it took me to take

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 1   the course, the only way you could determine how long it took is by asking me about my individual

 2   circumstances, and I could tell you, assuming I remember.

 3             15.    I attend most sales meetings. As mentioned above, I am paid for my attendance at

 4   sales meetings. I occasionally miss a meeting when I have pressing mortgage loan matters. For

 5   those meetings I do attend (either in person, via Skype or phone), I am sometimes only able to attend

 6   a part of the meeting because I arrive late, step out during the meeting, or have to leave early.

 7   Regardless, to the best of my knowledge, no attendance record is kept with respect to those

 8   meetings, nor is there a record of how long I attended any meetings. The only way to determine if I

 9   attended a particular sales meeting, or for how long I attended, is to ask me, and I can tell you my

10   individual circumstance, assuming I remember.

11             16.    I also understand that one or more of the Plaintiffs in this case contend that they

12   cannot or did not engage in any productive work related to loan originations while in training or

13   meetings. I cannot speak for them, but that is not true for me. First, the training sessions are often

14   directly related to our loan origination work. Second, I usually multi-task during sales meetings,

15   including working on actual loan documents or texting or emailing customers and other persons

16   regarding mortgage loan business. I have observed other MLOs doing the same thing during the

17   course of meetings.

18             I declare under penalty of perjury under the laws of the United States of America that the
                                                  12th
     foregoing is true and correct. Executed this ___                            Irvine
                                                       day of November, 2019 at _______, California.
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           Case 3:18-cv-04810-JCS Document 91-7 Filed 01/29/20 Page 7 of 7



 1                                    CERTIFICATE OF SERVICE
 2
               I am employed in the county of Los Angeles. I am over the age of 18 and not a party to the
 3
     within action; my business address is: 10100 Santa Monica Blvd., 8th Floor, Los Angeles, CA
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     90067.
 5
               On November 1, 2019, I served the document(s) described as:
 6
                                 DECLARATION OF FRANCO LANTERI
 7
         The undersigned certifies that the document listed above was filed this November 1, 2019.
 8
      Notice of this filing will be sent to all parties in this case listed below by operation of the Court’s
 9
     electronic filing system (ECF). Parties may access this filing via the Court’s ECF system.
10

11
               I declare under penalty of perjury under the laws of the United States of America that the
12
     foregoing is true and correct.
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               Executed on November 1, 2019, at Los Angeles, California.
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16                                                  /s/ Saman M. Rejali
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 8   Seattle, WA 98104-1158
     United States of America
 9   P: +1.206.623.7580
     F: +1.206.623.7022
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11

12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15   TANSEER KAZI and LINDA SCHEID,
     individually and on behalf of all those similarly
16   situated,                                           Case No.: 3:18-cv-04810-J CS

17                          Plaintiffs,                  DECLARATION OF BELA SINGH IN
                                                         OPPOSITION TO CLASS
18   vs.                                                 CERTIFICATION

19   PNC BANK, N.A., and DOES 1-100 inclusive,           [Hon. Mag. Judge Joseph C. Spero]

20                          Defendants.

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                                     DECLARATION OF BELA SINGH
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          Case 3:18-cv-04810-JCS Document 91-23 Filed 01/29/20 Page 2 of 6



 1                                   DECLARATION OF BELA SINGH

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 3   I, Bela Singh, hereby declare as follows:

 4             1.   I am a Mortgage Loan Officer (“MLO”) with PNC Bank, NA. (“PNC”). I have held

 5   this position for a little over five years, having joined PNC Bank in August 2014. I have worked in

 6   the mortgage loan industry for approximately 15years. My principal office is located at 5700

 7   Stoneridge Mall Rd., Pleasanton, California. This declaration is provided based on my personal

 8   knowledge.

 9             2.   My principal responsibility as an MLO is to generate mortgage loan sales. I also

10   participate in training, sales meetings and other activities as part of my job.

11             3.   I am paid an annual salary for a 40-hour workweek. I am a non-exempt employee.

12   Because the salary only pays for the first 40 hours each week, I am also eligible to receive overtime.

13   PNC pays my salary on a bi-weekly basis regardless of whether I have closed any loans I have been

14   successful in closing loans, so I have never had to rely solely on my base salary as my income. I

15   have never been asked to write a check back or to otherwise return any of my salary to PNC.

16             4.   In addition to my salary, when I started work at PNC, I received an onboarding

17   incentive payment that was individually established for me by PNC based upon my experience and

18   production in my prior mortgage loan sales job. That payment was in the amount of               and

19   was paid to me over my first three months of employment. I understood that this incentive was

20   intended to provide me with sufficient compensation as I built a flow of work. I also understood that

21   it was a contingent payment, and the contingency would be removed if I remained employed for 12

22   months, and that the amount was not earned until that time had passed. I received my full

23   onboarding payment, the contingency has was removed, and I earned my onboarding incentive. The

24   onboarding incentive was in addition to, and completely unrelated to any amount I would earn on

25   mortgage loan sales I generated.

26             5.   In addition to the onboarding incentive payment described above, as another

27   onboarding incentive,

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                                     DECLARATION OF BELA SINGH
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 2                                                 I was successful in my sales of loans at PNC, and

 3   earned                          afforded by this special incentive.

 4             6.   In addition to my salary and onboarding incentives, I was eligible to earn standard

 5   incentive compensation for loan originations under the PNC Mortgage Originations Incentive Plan

 6   and an Addendum A to the Incentive Plan (“the Incentive Plan”) for MLOs in California. The

 7   Incentive Plan and Addendum documents are approximately 16-20 pages in length, and have

 8   changed in various ways annually and, with each change, we are provided the new document, asked

 9   to review it, and are required to acknowledge our understanding. Although the Incentive Plan is

10   complex and can be difficult to understand for people who are not in the industry, and it periodically

11   changes, I have worked in the industry for a long time and have no trouble understanding the

12   arrangements. Moreover, when I have had any questions, my managers have explained the Incentive

13   Plan to me, they are accessible to answer any questions I have about it, and PNC provides me with

14   access to other detailed documents including earnings statements that outline all of the relevant

15   components and calculations.

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26             8.   In addition to my salary, onboarding incentives and any pay under the Incentive Plan,

27   I have also received bonus compensation outside of the Incentive Plan. For example, I received a

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                                    DECLARATION OF BELA SINGH
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 1             bonus from PNC earlier this year as a result of the changes in federal tax laws that decreased

 2   taxes on certain corporate entities like PNC.

 3             9.     I am not sure exactly what compensation other MLOs receive, but I do know that

 4   MLOs receive compensation that can vary greatly for each MLO. It varies because there are a wide

 5   range of potential payments an MLO might receive, from salary, to onboarding incentives (signing

 6   bonuses) of differing amounts, to referral fees of differing amounts, to flat fee payments received for

 7   helping recruit new MLOs to work at PNC. Some of the incentive payments relate directly to

 8   mortgage loan originations, some relate indirectly to loan originations, and others have no

 9   relationship whatsoever to loan originations. All of these different types of payments compensate

10   me and other MLOs for all of our work on the job.

11             10.    I understand that, in this lawsuit, Plaintiffs contend that MLOs are not paid for rest

12   breaks and other activities not directly related to sales. That is not true with respect to me and the

13   compensation arrangements that I have agreed to with PNC. I agreed that the above described

14   compensation PNC provides to me pays for all my time at work, including time originating loans,

15   taking rest breaks (which I take), attending training and sales meeting, and engaging in other non-

16   sales activities. For example, my salary covers all work time regardless of its nature, and many other

17   types of compensation, including onboarding incentives, periodic bonuses and awards, and

18   incentives calculated under the Plan, are not limited to production activities and cover all time at

19   work regardless of its nature. PNC policy requires me to report all time that I work, and I am

20   clocked-in during all time periods at work, except when I clock out and back in for a meal break.

21   PNC policy also requires me to take rest and meal breaks, and I am allowed to and do take them at

22   times that are convenient for me in compliance with the policy.

23             11.    I have been paid all sums owed to me by PNC, I have never been asked to return any

24   part of the salary or contingent payments I received, and I have never written a check or otherwise

25   paid back any of those payments.

26             12.    I participate in training activities. As mentioned above, I am paid for my

27   participation in training. I tested-out of certain training many times, and didn’t have to complete the

28   full training course. However, I am still entitled to receive credit for having completed the course.
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                                      DECLARATION OF BELA SINGH
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 1   To the best of my knowledge, PNC does not keep any records with respect to whether I have tested-

 2   out; only that I have been credited with completing the course. The ability to test-out usually occurs

 3   because I have taken the course in prior years. The only way to determine whether I actually took a

 4   full training course being offered is to ask me, and I can tell you my individual circumstance,

 5   assuming I remember.

 6             13.   I am also aware that training courses typically state an amount of time a full course is

 7   anticipated to take to complete. For example, some courses indicate they will take 30 minutes to

 8   complete. However, I am usually able to complete the course in substantially less time than stated,

 9   but occasionally it takes me more time. Since no records are kept of the length of time it took me to

10   take the course, the only way you could determine how long it took is by asking me about my

11   individual circumstances, and I could tell you, assuming I remember.

12             14.   I also attend sales meetings when I am able to. The frequency of sales meetings and

13   their length vary by managers and offices. As mentioned above, I am paid for my attendance at sales

14   meetings. For those meetings I do attend (either in person, via Skype or phone), I am sometimes

15   only able to attend a part of the meeting. Regardless, to the best of my knowledge, no attendance

16   record is kept with respect to those meetings, nor is there a record of how long I attended any

17   meetings. The only way to determine if I attended a particular sales meeting, or for how long I

18   attended, is to ask me, and I can tell you my individual circumstance, assuming I remember.

19             15.   I also understand that one or more of the Plaintiffs in this case contend that they

20   cannot or did not engage in any productive work related to loan originations while in training or

21   meetings. I cannot speak for them, but that is not true for me. I usually am able to accomplish

22   several tasks during the course of sales meetings, including working on actual loan documents,

23   texting, emailing or phoning customers, and others things related to generating loan sales. I have

24   observed other MLOs doing the same thing during the course of meetings.

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 1                                     CERTIFICATE OF SERVICE
 2
               I am employed in the county of Los Angeles. I am over the age of 18 and not a party to the
 3
     within action; my business address is: 10100 Santa Monica Blvd., 8th Floor, Los Angeles, CA
 4
     90067.
 5
               On November 1, 2019, I served the document(s) described as:
 6
                                      DECLARATION OF BELA SINGH
 7
         The undersigned certifies that the document listed above was filed this November 1 2019.
 8
      Notice of this filing will be sent to all parties in this case listed below by operation of the Court’s
 9
     electronic filing system (ECF). Parties may access this filing via the Court’s ECF system.
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               I declare under penalty of perjury under the laws of the United States of America that the
12
     foregoing is true and correct.
13
               Executed on November 1, 2019, at Los Angeles, California.
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16                                                  /s/ Saman M. Rejali
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 1                                    CERTIFICATE OF SERVICE
 2
               I am employed in the county of Los Angeles. I am over the age of 18 and not a party to the
 3
     within action; my business address is:10100 Santa Monica Blvd., 8th Floor, Los Angeles, CA 90067.
 4
               On November 1, 2019, I served the document(s) described as:
 5
                                 DECLARATION OF JASEN MACKENZIE
 6
         The undersigned certifies that the document listed above was filed this November 1 2019.
 7
      Notice of this filing will be sent to all parties in this case listed below by operation of the Court’s
 8
     electronic filing system (ECF). Parties may access this filing via the Court’s ECF system.
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               I declare under penalty of perjury under the laws of the United States of America that the
11
     foregoing is true and correct.
12
               Executed on November 1, 2019, at Los Angeles, California.
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15                                                  /s/ Saman M. Rejali
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12                                   UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                        SAN FRANCISCO DIVISION

15   TANSEER KAZI and LINDA SCHEID,
     individually and on behalf of all those similarly
16   situated,                                           Case No.: 3:18-cv-04810-J CS

17                          Plaintiffs,                  DECLARATION OF NELLY MELIAN IN
                                                         OPPOSITION TO CLASS
18   vs.                                                 CERTIFICATION

19   PNC BANK, N.A., and DOES 1-100 inclusive,           [Hon. Mag. Judge Joseph C. Spero]

20                          Defendants.

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                                   DECLARATION OF NELLY MELIAN
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 1                                DECLARATION OF NELLY MELIAN

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 3   I, Nelly Melian, hereby declare as follows:

 4             1.   I am a Mortgage Loan Officer (“MLO”) with PNC Bank, NA. (“PNC”). I have held

 5   this position for about two and a half years, having joined PNC Bank in April, 2017. I have worked

 6   in the mortgage loan industry for approximately 13 ½ years. My principal office is located at 11846

 7   Ventura Blvd., Studio City, CA. This declaration is provided based on my personal knowledge.

 8             2.   My responsibilities as an MLO require that I perform a variety of tasks, but the

 9   principal focus of my work is generating mortgage loan sales. I also participate in training, sales

10   meetings and other activities as part of my job.

11             3.   For my work at PNC, I am paid a variety of types of compensation. Some aspects of

12   my compensation are outlined in the job offer letter I received at the commencement of my work at

13   PNC, other aspects are detailed in the PNC Mortgage Originations Incentive Plan and Addendum A

14   (the “Incentive Plan”), and still other aspects are offered and explained to me by my manager.

15             4.   I am not sure exactly what compensation other MLOs receive, but I do know that

16   compensation varies greatly among MLOs. It varies because there are a wide range of potential

17   payments an MLO might receive, from salary, to onboarding incentives (signing bonuses) of

18   differing amounts, to referral fees of differing amounts, to flat fee payments received for helping

19   recruit new MLOs to work at PNC. Some of the incentive payments relate directly to mortgage loan

20   originations, some relate indirectly to loan originations, and others have no relationship whatsoever

21   to loan originations. All of these different types of payments compensate me and other MLOs for all

22   of our work on the job.

23             5.   Specifically, as stated in my offer letter, I am paid an annual salary for a 40-hour

24   workweek. I am a non-exempt employee. Because the salary only pays for the first 40 hours each

25   week, I am also eligible to receive overtime. PNC pays my salary on a bi-weekly basis regardless of

26   whether I have closed any loans. I have been successful in closing loans, so I have never had to rely

27   solely on my base salary as my income. I have never been asked to write a check back or to

28   otherwise return any of my salary to PNC.
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                                  DECLARATION OF NELLY MELIAN
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 1             6.    My offer letter also explained that, in addition to my salary and overtime, I was

 2   entitled to receive an onboarding incentive payment that I negotiated with PNC. That payment, in

 3   the amount of            was a contingent payment made to me during my first month of

 4   employment. I understood that this incentive was intended to provide me with sufficient

 5   compensation as I built a flow of work. I also understood that the contingency in the payment would

 6   be removed if I remained employed at PNC for 12 months, and that the amount was not earned until

 7   that time had passed. I received my full onboarding payment, the contingency was removed, and I

 8   have earned my onboarding incentive. The onboarding incentive was in addition to, and completely

 9   unrelated to any amount I would earn on mortgage loan sales I generated. As an additional

10   onboarding incentive payment to me, I could earn an additional                             of my

11   employment if I generated specific numbers of loan applications or accumulated specific dollar

12   volumes of loan applications. I was, indeed, able to achieve those goals, and was paid the full

13   amount of this incentive which, when combined with the above mentioned                onboarding

14   incentive, meant that I received a total of          for those first four months of employment. This

15   was in addition, and unrelated to, to the standard incentive compensation I would receive for

16   originating and closing mortgage loans.

17             7.    My offer letter further explained that in addition to the onboarding incentive payment

18   previously described, as another onboarding incentive, I would receive

19                                                                   This was a special arrangement for me

20   designed as further enticement for me to join PNC. It afforded me the opportunity to

21                                                                                                       at

22   the time, even though I had not yet produced any business for PNC. I was successful in my sales of

23   loans at PNC, and earned                            afforded by this special incentive.

24             8.    My offer letter also explained that, in addition to my salary and onboarding

25   incentives, I was eligible to earn standard incentive compensation for loan originations under the

26   Incentive Plan. The Incentive Plan documents have changed over time and, with each change, we

27   are provided the new document, asked to review it, and are required to acknowledge our

28   understanding. The documents are also available online for review at any time.
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 1             9.    Although the Incentive Plan is complex and can be difficult to understand for people

 2   who are not in the industry, and it periodically changes, I have worked in the industry for a long

 3   enough time and have no trouble understanding the arrangements. Moreover, when I have had any

 4   questions, my managers have explained the Incentive Plan to me, they are accessible to answer any

 5   questions I have about it, and PNC provides me with access to other detailed documents including

 6   earnings statements that outline all of the relevant components and calculations.

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18             10.   Finally, in addition to my salary onboarding incentive and any pay under the

19   Incentive Plan, I have also received bonus compensation outside of the Incentive Plan. For example,

20   I received a generous          bonus from PNC earlier this year as a result of the changes in federal

21   tax laws that decreased taxes on certain corporate entities like PNC.

22             11.   I understand that, in this lawsuit, Plaintiffs contend that MLOs are not paid for rest

23   breaks and other activities not directly related to sales. That is not true with respect to me and the

24   compensation arrangements that I have agreed to with PNC. I agreed that the above described

25   compensation PNC provides to me pays for all my time at work, including time originating loans,

26   taking rest breaks (which I take), attending training and sales meeting, and engaging in other

27   activities. For example, my salary covers all work time regardless of its nature, and many other

28   types of compensation, including onboarding incentives, periodic bonuses and awards, and
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 1   incentives calculated under the Plan, are not limited to production activities and cover all time at

 2   work regardless of its nature. PNC policy requires me to report all time that I work, and I am

 3   clocked-in during all time periods at work, except when I clock out and back in for a meal break.

 4   PNC policy also requires me to take rest and meal breaks, and I am allowed to and do take them at

 5   times that are convenient for me in compliance with the policy.

 6             12.   I have been paid all sums owed to me by PNC, I have never been asked to return any

 7   part of the salary or contingent payments I received, and I have never written a check or otherwise

 8   paid back any of those payments.

 9             13.   I participate in training activities. As mentioned above, I am paid for my

10   participation in training. I have never tested-out of any training course. I am aware that training

11   courses typically state an amount of time a course is anticipated to take to complete. For example,

12   some courses indicate they will take 90 minutes to complete. However, I almost always complete

13   those courses in substantially less time than stated. To the best of my knowledge, since no records

14   are kept of the length of time it took me to take the course, the only way you could determine how

15   long it took is by asking me about my individual circumstances, and I could tell you, assuming I

16   remember.

17             14.   I also attend sales meetings. As mentioned above, I am paid for my attendance at

18   sales meetings. I occasionally miss a meeting when I have pressing mortgage loan matters. For

19   those I do attend (either in person, via Skype or phone), I am sometimes only able to attend part of

20   the meeting because I arrive late, step out during the meeting, or have to leave early. Regardless, to

21   the best of my knowledge, no attendance record is kept with respect to those meetings, nor is there a

22   record of how long I attended any meetings. The only way to determine if I attended a particular

23   sales meeting, or for how long I attended, is to ask me, and I can tell you my individual

24   circumstance, assuming I remember.

25             15.   I also understand that one or more of the Plaintiffs in this case contend that they

26   cannot or did not engage in any productive work related to loan originations while in training or

27   meetings. I cannot speak for them, but that is not true for me. I usually multi-task during sales

28   meetings, including working on actual loan documents or texting or emailing customers and others
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 1   related to mortgage loan business. I have observed other MLOs doing the same thing during the

 2   course of meetings.

 3             I declare under penalty of perjury under the laws of the United States of America that the

 4   foregoing is true and correct. Executed this 8th day of November, 2019 at Studio City, California.

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 1                                    CERTIFICATE OF SERVICE
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               I am employed in the county of Los Angeles. I am over the age of 18 and not a party to the
 3
     within action; my business address is: 10100 Santa Monica Blvd., 8th Floor, Los Angeles, CA
 4
     90067.
 5
               On November 1 2019, I served the document(s) described as:
 6
                                   DECLARATION OF NELLY MELIAN
 7
         The undersigned certifies that the document listed above was filed this November 1 2019.
 8
      Notice of this filing will be sent to all parties in this case listed below by operation of the Court’s
 9
     electronic filing system (ECF). Parties may access this filing via the Court’s ECF system.
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11
               I declare under penalty of perjury under the laws of the United States of America that the
12
     foregoing is true and correct.
13
               Executed on November 1, 2019, at Los Angeles, California.
14

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16                                                  /s/ Saman M. Rejali
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                                                                                                Aug 30, 2019
               Signature: Linda A Scheid (Aug 30, 2019)
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                                                                    Pay Period from 10/16/2016 to 10/31/2016, Pay Date 11/25/2016
                                                                                   Includes Activity thru 11/22/2016
                                                                                         FINAL STATEMENT


                                                                                                                                        GILLIAM-MCCULLOUGH,
          Producer:      SCHEID,LINDA                  Job Title:      MTG LOAN OFFICER WEST (MLO)                      Manager:                                                     Logon ID:   PP58113        Salary:    $33,280.00
                                                                                                                                        YVETTE
   Job Entry Date:       07/25/2011         Last Day Worked:                                                              Branch:       3205 - Torrance CA                                                 Cost Center:    2172821




                                        All calculations were made under PNC Mortgage, a division of PNC Bank, National Association's Incentive Policies and Procedures, a copy of
                                             which has previously been furnished to you. If you have any questions concerning this report, please contact your Incentive Analyst.
Tuesday, April 02, 2019 10:39 AM                                                                                                                                                                                              Page 1 of 4
                                                                                                                                                                                                                          PNC 000665
                                                                                                           Earnings Statement
                                                                                     Pay Period from 10/16/2016 to 10/31/2016, Pay Date 11/25/2016
                                                                                                    Includes Activity thru 11/22/2016
                                                                                                          FINAL STATEMENT


                                                                                                                                                         GILLIAM-MCCULLOUGH,
          Producer:      SCHEID,LINDA                                   Job Title:      MTG LOAN OFFICER WEST (MLO)                      Manager:                                                       Logon ID:   PP58113        Salary:    $33,280.00
                                                                                                                                                         YVETTE
   Job Entry Date:       07/25/2011                          Last Day Worked:                                                              Branch:       3205 - Torrance CA                                                   Cost Center:    2172821




                                                     DRAW INFORMATION                                                                                                                                 EARNINGS SUMMARY
Draw Type                                      Amount                                                  Start                              End         Description                                                                                   Amount

                                                                                                                                                       Total Variable Earning                                                                    $4,422.50
                                             ELEVATED BPS INFORMATION                                                                                  Regular Pay                                                                               $1,280.00
Start Date                              End Date                                                                                     Amount
                                                                                                                                                                               Grand Total Earnings :                                             $5,702.50
 10/01/2011                             12/31/2011                                                                                      65.0

                                                                                                                                                                                  MONTHLY TIERING AND INCENTIVE WEIGHT
                                              PERIOD DRAW INFORMATION
                                                                                                                                                                                                                     Tier                       Quality
                                           Period                        This Period Activity                                        Period             Tier                     Volume                 Units       Weight                     Incentive
Description                             Beginning                                                                                   Ending                                                                           BPS                         BPS
                                          Balance          Paid               Recovered                Unrecovered                  Balance               1                   $0 - $400,000              1-3         40.0                          -
                                                                                                                                                          2               $400,001 - $1,000,000          4-6         55.0                        5.00
 Regular Pay                               $0.00      $2,560.00               $2,560.00                         $0.00                 $0.00
                                                                                                                                                          3              $1,000,001 - $1,750,000        7 - 10       75.0                        5.00
                                                                                                                                                          4                    $1,750,001+               11+         80.0                        5.00

                                           REFERRAL CROSS SELL INCENTIVE
Description                                              Number of Revenue Credits                                                   Amount
 Retail Cross Sell Referral                                             0.00                                                          $0.00              *Each incentive period the tier level is determined by the higher of the total "funded-disbursed"
                                                                                                                                                        volume or "funded-disbursed" units. (1 BPS = 1/10,000) Loan Officers will not receive credit for
 AMG Cross Sell Referral                                                0.00                                                          $0.00                   loans that close after the last day worked, except as may be required by state law.

                                           INCENTIVE PERIOD ADJUSTMENTS

                                                                    Repay               Repay                                          Gross
                                               Period                                                        Repay
Description                                                        Regular                Non-                                        Payroll
                                              Amount                                                      Cumulative
                                                                      Pay            Cumulative                                      Amount

 Gross Incentive Period                      $6,982.50                                                                           $6,982.50



        Incentive Adjusted                   $6,982.50        $2,560.00                     $0.00                $0.00           $4,422.50

              Total Variable Earning:        $6,982.50            $2,560.00                  $0.00                $0.00             $4,422.50




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Tuesday, April 02, 2019 10:39 AM                                                                                                                                                                                                                  Page 2 of 4
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                                                                                                                Earnings Statement
                                                                                          Pay Period from 10/16/2016 to 10/31/2016, Pay Date 11/25/2016
                                                                                                         Includes Activity thru 11/22/2016
                                                                                                               FINAL STATEMENT


                                                                                                                                                              GILLIAM-MCCULLOUGH,
          Producer:      SCHEID,LINDA                                        Job Title:      MTG LOAN OFFICER WEST (MLO)                      Manager:                                                         Logon ID:   PP58113        Salary:    $33,280.00
                                                                                                                                                              YVETTE
   Job Entry Date:       07/25/2011                               Last Day Worked:                                                              Branch:       3205 - Torrance CA                                                     Cost Center:    2172821




                                                                                                                INCENTIVE CREDIT DETAILS




                                                                                                                             Standard

                                      Emp/Refi     App                   Disb.                                                                                                                        Unit         Origination
Loan ID                                                                                    Borrower                                                             Loan Amt                                                                Branch of Sale
                                       /Loan       Date                  Date                                                                                                                         Count          Incentive

8000737964                                       09/07/2016           10/26/2016           ALEXANDER                                                         $748,000.00                                   1         $5,610.00        3205 - Torrance CA
8000746818                               R       10/01/2016           10/31/2016           FARR                                                              $457,500.00                                   1         $1,372.50        3205 - Torrance CA

                                                                                                                         Totals for Standard :             $1,205,500.00                                   2         $6,982.50




                                                                                                            Period Totals/Gross Incentive :                $1,205,500.00                   $0.00           2         $6,982.50




                                                                                                                        ADJUSTMENTS


Adjustment Type                                      Memo/Notes                                                                                                                                                                                           Amount

ET RTL ADJ MIN STD D                                 MINIMUM PRODUCTION DEDUCTION ADJUSTMENT FROM PAY DATE 10/14/2016                                                                                                                                ($1,280.00)

ET RTL ADJ MIN STD D                                 MINIMUM PRODUCTION DEDUCTION ADJUSTMENT FROM PAY DATE 10/28/2016                                                                                                                                ($1,280.00)




                                                              All calculations were made under PNC Mortgage, a division of PNC Bank, National Association's Incentive Policies and Procedures, a copy of
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Tuesday, April 02, 2019 10:39 AM                                                                                                                                                                                                                         Page 3 of 4
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                                                                                Pay Period from 10/16/2016 to 10/31/2016, Pay Date 11/25/2016
                                                                                               Includes Activity thru 11/22/2016
                                                                                                     FINAL STATEMENT


                                                                                                                                                    GILLIAM-MCCULLOUGH,
          Producer:      SCHEID,LINDA                              Job Title:      MTG LOAN OFFICER WEST (MLO)                      Manager:                                                     Logon ID:   PP58113          Salary:    $33,280.00
                                                                                                                                                    YVETTE
   Job Entry Date:       07/25/2011                     Last Day Worked:                                                              Branch:       3205 - Torrance CA                                                   Cost Center:    2172821




                                                                                                                    SUMMARY
                         Group                                                                                  Monthly Volume                                                                                         YTD Volume
                         Standard                                                                                      $748,000.00                                                                                 $8,605,587.00
                         Home Equity Partners                                                                                $0.00                                                                                         $0.00
                         Internal Refinance                                                                            $457,500.00                                                                                 $6,672,855.00
                         Broker Loans                                                                                        $0.00                                                                                         $0.00
                                                                                                                      $1,205,500.00                                                                                $15,278,442.00




                     PNC CROSS SELL REFERRAL TIERING AND REWARD                                                                    ASSET MANAGEMENT GROUP (AMG) CROSS SELL REFERRAL TIERING AND REWARD


                                   Revenue Credit            Referral                                                                                     Revenue Credit                                               Referral
Tier                                                                                                           Tier
                                   Accumulation              Compensation                                                                                 Accumulation                                                 Compensation
GOLD                               2,400+                    $500                                               GOLD                                      25,000+                                                      $500
SILVER                             1,800 - 2,399             $300                                               SILVER                                    5,000 - 24,999                                               $250
BRONZE                             1,200 - 1,799             $200                                               BRONZE                                    1 - 4,999                                                    $100




                                                    All calculations were made under PNC Mortgage, a division of PNC Bank, National Association's Incentive Policies and Procedures, a copy of
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Tuesday, April 02, 2019 10:39 AM                                                                                                                                                                                                            Page 4 of 4
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 RIORDQV,VROG
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                                Tanseer Kazi
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                        Tanseer Kazi - October 17, 2019

1                  UNITED STATES DISTRICT COURT
2                NORTHERN DISTRICT OF CALIFORNIA
3                     SAN FRANCISCO DIVISION
4    _____________________________
                                   )
5    TANSEER KAZI and LINDA        )
     SCHEID, individually and on )
6    behalf of all those similarly)
     situated,                     )
7                                  )CASE NO.
               Plaintiffs,         )3:18-cv-04810-JCS
8                                  )
               vs.                 )
9                                  )
     PNC BANK, N.A., and DOES      )
10   1-100 inclusive,              )
                                   )
11             Defendants.         )
     _____________________________)
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15            VIDEOTAPED DEPOSITION OF TANSEER KAZI
16                  San Francisco, California
17                  Thursday, October 17, 2019
18                           Volume 1
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23   Reported by:
     RACHEL FERRIER, CSR No. 6948
24   Job No. 3599791
25   PAGES 1 - 294

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                         Tanseer Kazi - October 17, 2019

1                  UNITED STATES DISTRICT COURT
2                NORTHERN DISTRICT OF CALIFORNIA
3                     SAN FRANCISCO DIVISION
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7                                  )CASE NO.
               Plaintiffs,         )3:18-cv-04810-JCS
8                                  )
               vs.                 )
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     PNC BANK, N.A., and DOES      )
10   1-100 inclusive,              )
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11             Defendants.         )
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15          VIDEOTAPED DEPOSITION OF TANSEER KAZI, VOLUME 1,
16   taken on behalf of the Defendants, at K&L Gates LLP,
17   4 Embarcadero Center, Suite 1200, San Francisco,
18   California, beginning at 9:03 a.m. and ending at
19   5:28 p.m. on Thursday, October 17, 2019, before
20   RACHEL FERRIER, Certified Shorthand Reporter No. 6948.
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24   Videographer:
25              KEVIN FOOR

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     Exhibit 18           First Set of Requests
19                        for Production of
                          Documents to Plaintiff
20                        Tanseer Kazi                                        279
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24
25

                                                                         Page 5

                 YOM: Full Service Court Reporting, A Veritext Company
                                     800.831.6973
                               Tanseer Kazi - October 17, 2019

1      San Francisco, California; Thursday, October 17, 2019

2                               9:03 a.m.

3                                                                           09:03:58

4           THE VIDEOGRAPHER:       Good morning.                           09:03:58

5           We are going on the record at 9:03 on                           09:03:59

6    October 17th of the year 2019.                                         09:04:01

7           Please understand microphones are very sensitive                09:04:04

8    and can pick up whispering and private conversation.                   09:04:06

9           This is Disc 1, Volume 1 in the video deposition                09:04:12

10   of Tanseer Kazi, taken by counsel for Defendant in the                 09:04:16

11   matter of Tanseer Kazi v PNC Bank, et al., filed in                    09:04:22

12   United States District Court for the Northern District                 09:04:26

13   of California.     It's Case No. 3:18-cv-04810-JCS.                    09:04:28

14          We are at K&L Gates.       They are at 4 Embarcadero            09:04:37

15   Center in San Francisco.                                               09:04:41

16          I'm Kevin Foor.       I'm with Rachel Ferrier.        We are    09:04:43

17   from Veritext.                                                         09:04:47

18          Will the attorneys please state their                           09:04:47

19   appearances.                                                           09:04:49

20          MR. MADDEN:      Patrick Madden for -- of K&L Gates             09:04:51

21   for Defendants, PNC Bank, et al.                                       09:04:57

22          MR. SITKIN:      My name is James Sitkin.       I'm             09:05:00

23   appearing here today for the plaintiffs.                               09:05:03

24          THE VIDEOGRAPHER:       Thank you.                              09:05:05

25          If the Court Reporter will please administer the                09:05:06

                                                                              Page 6

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                               Tanseer Kazi - October 17, 2019

1    talk about 2014.                                                       02:07:03

2           It's been marked as Exhibit No. 10.                             02:07:18

3           (Exhibit 10 was marked for                                      02:07:20

4           identification.)                                                02:07:21

5    BY MR. MADDEN:                                                         02:07:21

6       Q   Do you recognize that document?                                 02:07:48

7       A   Yes.                                                            02:08:10

8       Q   So let me start with:        Is it a true and correct           02:08:11

9    copy of a hire letter you received in September of 2014?               02:08:19

10      A   It looks like it.                                               02:08:23

11      Q   Okay.     And is there -- and it looks like there               02:08:25

12   was a hire letter, and then there was an attached                      02:08:29

13   non-solicitation, no-hire confidentiality agreement                    02:08:33

14   behind that.                                                           02:08:37

15          Do you see that?                                                02:08:37

16          So it's three pages of a letter and then two                    02:08:41

17   pages of an agreement.                                                 02:08:43

18      A   I only have three pages.                                        02:08:46

19      Q   Oh.                                                             02:08:48

20          MR. SITKIN:      I believe --                                   02:08:48

21          MR. MADDEN:      They are front and back.                       02:08:53

22          MR. SITKIN:      -- it's two-sided -- two-sided                 02:08:54

23   document.                                                              02:08:55

24          MR. MADDEN:      Yeah.                                          02:08:56

25          THE WITNESS:      Oh, okay, yeah.                               02:08:57

                                                                            Page 176

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                               Tanseer Kazi - October 17, 2019

1       A   Yes.                                                            02:10:12

2       Q   And you were hired with an annualized salary of                 02:10:22

3    $33,280; correct?                                                      02:10:25

4       A   Yes.                                                            02:10:27

5           So just to correct this, I'm confused about the                 02:10:29

6    dates here.     The letter is dated September 2nd.          The        02:10:35

7    signed date is September 2nd, and the start date is                    02:10:41

8    September 2nd.     I'm not sure if this was signed in the              02:10:44

9    office when I started or it was signed before or I sign                02:10:51

10   it on a later date.      I'm not aware -- I'm not aware --             02:10:57

11   I'm not familiar with that.                                            02:11:00

12      Q   Okay.     But the letter said that you were                     02:11:02

13   scheduled to start on September 2nd; correct?                          02:11:08

14      A   That's what the letter says, yes.                               02:11:11

15      Q   Okay.     And the letter states you were hired with             02:11:13

16   an annualized salary of               correct?                         02:11:14

17      A   Yes.                                                            02:11:20

18      Q   And how long did you work for PNC Bank in 2014?                 02:11:20

19      A   I think, first week, I said I'm going to leave,                 02:11:32

20   and I left.     I resigned first week.                                 02:11:39

21      Q   Okay.     So you didn't even finish a week?                     02:11:42

22      A   I didn't even finish a week.                                    02:11:44

23      Q   Okay.                                                           02:11:46

24      A   That -- that's what I remember, and, yeah, first                02:11:48

25   week I made the decision I'm not going to stay there.                  02:11:55

                                                                            Page 178

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                                  Tanseer Kazi - October 17, 2019

1       Q      Okay.     And -- and when you were in training, were            02:17:51

2    there scheduled breaks during the training?                               02:17:59

3       A      Yes.                                                            02:18:01

4       Q      Did you take those breaks?                                      02:18:03

5       A      Yes.                                                            02:18:06

6       Q      And did you understand that the pay you were                    02:18:06

7    receiving for those weeks was paying you for those                        02:18:13

8    breaks?                                                                   02:18:16

9              MR. SITKIN:      Mischaracterizes his prior                     02:18:18

10   testimony.                                                                02:18:19

11             You may answer.                                                 02:18:20

12             THE WITNESS:      I don't know that.                            02:18:21

13   BY MR. MADDEN:                                                            02:18:21

14      Q      You don't know one way or another?                              02:18:23

15      A      No, I don't know that.                                          02:18:25

16      Q      Did anybody tell you, "We are giving you this                   02:18:26

17   pay, but it's not for breaks"?                                            02:18:30

18      A      No.                                                             02:18:33

19      Q      Okay.     So did anybody tell you that you weren't              02:18:33

20   going to get paid a salary broken down on a biweekly                      02:18:46

21   basis?                                                                    02:18:52

22      A      Did anybody tell me that?                                       02:18:52

23      Q      Yes.                                                            02:18:57

24      A      It was in the -- it was written in the offer.                   02:18:58

25   There is a base salary.                                                   02:19:04

                                                                               Page 183

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                               Tanseer Kazi - October 17, 2019

1       Q   Oh, well, that's what I'm asking, is:           Did             02:19:05

2    anybody tell you you wouldn't get a base salary?                       02:19:08

3       A   Oh, I wouldn't get.       I'm sorry, no.                        02:19:10

4       Q   Okay.     In the third paragraph, it states that you            02:19:12

5    would receive a forgivable draw of                for the first        02:19:21

6    month of employment; is that accurate?                                 02:19:25

7       A   Yes.                                                            02:19:30

8       Q   Okay.     So I wanted to ask a couple of questions              02:19:31

9    about that.                                                            02:19:35

10          Did you understand that the forgivable draw was                 02:19:39

11   something different than compensation under the standard               02:19:41

12   Mortgage Origination Incentive Compensation Plan?                      02:19:47

13      A   Yes.                                                            02:19:49

14      Q   Okay.     And did -- and that's -- if you look at               02:19:51

15   the second line, it talks about, after this time frame,                02:19:58

16   you will revert to the standard compensation plan;                     02:20:00

17   correct?                                                               02:20:03

18      A   Yes.                                                            02:20:03

19      Q   So -- so you understood that this was something                 02:20:05

20   different than standard plan compensation; correct?                    02:20:08

21      A   Correct.                                                        02:20:12

22      Q   Okay.     And -- and did you ever receive that                  02:20:13

23   forgivable draw?                                                       02:20:19

24      A   No, I didn't.                                                   02:20:20

25      Q   Okay.     Did you understand that the forgivable                02:20:21

                                                                            Page 184

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                                  Tanseer Kazi - October 17, 2019

1    of time when you start working, that there isn't an                       02:27:23

2    offset; is that correct?                                                  02:27:28

3       A      That's correct.                                                 02:27:29

4       Q      Okay.     And so during that period, then, people               02:27:30

5    get their salary, and it actually pays for their time;                    02:27:36

6    correct?                                                                  02:27:40

7       A      Yes.                                                            02:27:40

8              MR. MADDEN:      Okay.   Now -- I guess that's good             02:27:43

9    enough.                                                                   02:27:52

10             So let me ask you to look at what I'll mark as                  02:28:10

11   Exhibit 12.                                                               02:28:14

12             (Exhibit 12 was marked for                                      02:28:14

13             identification.)                                                02:28:15

14   BY MR. MADDEN:                                                            02:28:15

15      Q      Do you recognize that document?                                 02:28:22

16      A      Yes.                                                            02:28:38

17      Q      And is it a hire letter that you received in                    02:28:45

18   January of 2017?                                                          02:28:55

19      A      Yes.                                                            02:28:56

20      Q      And in the second paragraph on page 1, it states                02:28:57

21   that you were hired into an M- -- a mortgage loan                         02:29:03

22   officer, MLO, position; correct?                                          02:29:07

23      A      Yes.                                                            02:29:10

24      Q      Did you, in fact -- oh, and it's -- and did you,                02:29:17

25   in fact, get hired into that position?                                    02:29:19

                                                                               Page 190

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                                  Tanseer Kazi - October 17, 2019

1       A      That's correct.                                                 02:29:21

2       Q      Okay.                                                           02:29:22

3       A      Yeah.                                                           02:29:23

4       Q      Were you scheduled to start on January 31st,                    02:29:23

5    2017?                                                                     02:29:27

6       A      I'm guessing -- well, I think that's correct.                   02:29:27

7       Q      Okay.     Well, I'm -- I'm asking, first, were                  02:29:33

8    you -- does it say that you were scheduled to start                       02:29:37

9    then?                                                                     02:29:39

10      A      Yeah, that's what it says.         Yes.                         02:29:40

11      Q      Okay.     And then my next question is:        Did you, in      02:29:44

12   fact, start then?                                                         02:29:47

13      A      I'll have to check the dates, but I think it was                02:29:48

14   around that date.                                                         02:29:55

15      Q      Okay.     And were you hired with an annual- --                 02:29:57

16   annualized salary of                                                      02:30:00

17      A      Yes.                                                            02:30:05

18      Q      And that was the same salary that you were hired                02:30:05

19   at in 2014; correct?                                                      02:30:08

20      A      That's correct.                                                 02:30:10

21      Q      Okay.     And did anybody ever tell you from -- or              02:30:12

22   anybody from PNC Bank ever tell you that they would not                   02:30:21

23   pay you that annualized salary?                                           02:30:25

24             MR. SITKIN:      Vague and ambiguous as to subject              02:30:28

25   matter.                                                                   02:30:33

                                                                               Page 191

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                               Tanseer Kazi - October 17, 2019

1    commission, incentive calculation.                                     05:23:17

2           Do you see that?                                                05:23:19

3       A   Yes.                                                            05:23:19

4       Q   Okay.     And you took that out of a pay -- or                  05:23:22

5    earnings statement; correct?                                           05:23:28

6       A   That looks like it's from the commission                        05:23:28

7    statement.                                                             05:23:34

8       Q   Okay.     That -- it's labeled earning -- we looked             05:23:38

9    at those.     They are labeled "Earnings Statement" on the             05:23:41

10   top; correct?                                                          05:23:44

11          Well, let me ask you --                                         05:23:48

12      A   Okay.                                                           05:23:50

13      Q   Let me ask a different question.                                05:23:50

14          We went through an entire series of these, and on               05:23:57

15   each one of those documents, after the commission -- the               05:24:03

16   commission incentive calculation was at the bottom of                  05:24:09

17   the left-hand side, and then on the right-hand side,                   05:24:12

18   there was a box that said "Earnings Summary" that listed               05:24:17

19   the amount you actually earned in that pay period;                     05:24:21

20   correct?                                                               05:24:25

21      A   Yes.                                                            05:24:25

22      Q   Okay.     Is there a reason you did not include the             05:24:35

23   earnings summary box in your declaration?          We don't            05:24:42

24   have -- that exhibit doesn't have the relevant page.                   05:25:09

25      A   I don't have an answer to that.                                 05:25:25

                                                                            Page 289

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                          Tanseer Kazi - October 17, 2019

1               I, TANSEER KAZI, do hereby declare under

2    penalty of perjury that I have read the foregoing

3    transcript; that I have made any corrections as appear

4    noted, in ink, initialed by me, or attached hereto; that

5    my testimony as contained herein, as corrected, is true

6    and correct.

7           EXECUTED this _____ day of _________________,

8    2019, at ________________________, ________________.

9                      (City)                         (State)

10

11          _________________________________

12            TANSEER KAZI

13            VOLUME 1

14

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                                                                       Page 293

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                            Tanseer Kazi - October 17, 2019

1
2
3
4             I, the undersigned, a Certified Shorthand
5    Reporter of the State of California, do hereby certify:
6             That the foregoing proceedings were taken before
7    me at the time and place herein set forth; that any
8    witnesses in the foregoing proceedings, prior to
9    testifying, were placed under oath; that a verbatim
10   record of the proceedings was made by me using machine
11   shorthand which was thereafter transcribed under my
12   direction; further, that the foregoing is an accurate
13   transcription thereof.
14            I further certify that I am neither financially
15   interested in the action nor a relative or employee of
16   any attorney or any of the parties.
17            IN WITNESS WHEREOF, I have this date subscribed
18   my name.
19
20   Dated:     October 21, 2019
21
22
23                                         <%12079,Signature%>
24                                         RACHEL FERRIER
25                                         CSR No. 6948

                                                                     Page 294

                 YOM: Full Service Court Reporting, A Veritext Company
                                     800.831.6973
                           Tanseer Kazi - October 17, 2019

1    James M. Sitkin

2    jsitkin@sitkinlegal.com

3                                   October 21, 2019

4    RE: Kazi, Tanseer And Scheid, Linda v. PNC Bank, N.A., Et Al.

5    10/17/2019, Tanseer    Kazi (#3599791)

6

7    The above-referenced transcript, which you have agreed

8    to provide to the witness for review, is available.                The

9    witness has 30 days from the date of this notice to

10   complete reading and signing of the deposition.

11

12   Please return the signed and dated Correction &

13   Signature page via email to the following

14   address: litsup-YOM@veritext.com.

15

16   If we do not receive a signed Correction & Signature

17   Page for this witness within 30 days of the date of

18   this letter, you may conclude that no corrections

19   were timely received by our office.

20

     The original transcript will be filed with the ordering attorney.

21

22

23   YOM: Full Service Court Reporting, A Veritext Company

24

25   206.622.6875 | litsup-YOM@veritext.com

                                                                        Page 295

                YOM: Full Service Court Reporting, A Veritext Company
                                    800.831.6973
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transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
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documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
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EXHIBIT 
· · · · · · · · ·UNITED STATES DISTRICT COURT

· · · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

· · · · · · · · · · SAN FRANCISCO DIVISION

· · ·_________________________________
· · · · · · · · · · · · · · · · · · · )
· · ·TANSEER KAZI and LINDA SCHEID,· ·)
· · ·individually and on behalf of· · )
· · ·all those similarly situated,· · )
· · · · · · · · · · · · · · · · · · · )
· · · · · Plaintiffs,· · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · )
· · · · · vs.· · · · · · · · · · · · ·)· · ·CASE NO.
· · · · · · · · · · · · · · · · · · · ) 3:18-cv-04810-JCS
· · ·PNC BANK, N.A., and DOES 1-100· ·)
· · ·inclusive,· · · · · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · )
· · · · · Defendants.· · · · · · · · ·)
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· · · · · · · · · · · · CONFIDENTIAL

· · · · · · VIDEOTAPED DEPOSITION OF LINDA SCHEID

· · · · · · · · · ·LOS ANGELES, CALIFORNIA

· · · · · · · · ·WEDNESDAY, OCTOBER 16, 2019

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· · ·Reported By:
· · ·Kyung Lee-Green, CSR No. 12655, CLR
·
· · ·Job: 46996
·

·
                             LINDA SCHEID
                                                               October 16, 2019

·1· · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · ·NORTHERN DISTRICT OF CALIFORNIA

·3· · · · · · · · · SAN FRANCISCO DIVISION

·4· ·_________________________________
· · · · · · · · · · · · · · · · · · · )
·5· ·TANSEER KAZI and LINDA SCHEID,· ·)
· · ·individually and on behalf of· · )
·6· ·all those similarly situated,· · )
· · · · · · · · · · · · · · · · · · · )
·7· · · · Plaintiffs,· · · · · · · · ·)
· · · · · · · · · · · · · · · · · · · )
·8· · · · vs.· · · · · · · · · · · · ·)· · ·CASE NO.
· · · · · · · · · · · · · · · · · · · ) 3:18-cv-04810-JCS
·9· ·PNC BANK, N.A., and DOES 1-100· ·)
· · ·inclusive,· · · · · · · · · · · ·)
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· · · · · Defendants.· · · · · · · · ·)
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18· · · · · · · · Videotaped Deposition of LINDA SCHEID,

19· ·taken on behalf of Defendant PNC Bank, N.A.

20· ·at 10100 Santa Monica Boulevard, 8th Floor,

21· ·Los Angeles, California, commencing at 9:02 a.m.,

22· ·and ending at 3:26 p.m., on Wednesday,

23· ·October 16, 2019, before KYUNG LEE-GREEN, Certified

24· ·Shorthand Reporter No. 12655 for the State of

25· ·California, CLR.


              First Legal Deposition-Calendar@firstlegal.com                 2
                            L.A. 855.348.4997
                            LINDA SCHEID
                                                              October 16, 2019

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23· · · · Also Present:
24· · · · · · Jasen Mackenzie
25· · · · · · Stephanie Naifeh, Videographer

             First Legal Deposition-Calendar@firstlegal.com                 3
                           L.A. 855.348.4997
                             LINDA SCHEID
                                                               October 16, 2019

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·4· · · · · · · · · · (None.)
·5
·6· · · · · · ·INFORMATION REQUESTED
·7· · · · · · · · · · (None.)
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·1· · · · · · · · ·LOS ANGELES, CALIFORNIA;
·2· · · · · WEDNESDAY, OCTOBER 16, 2019; 9:02 A.M.
·3
·4· · · · · · ·THE VIDEOGRAPHER:· We are now, going on
·5· ·the video record.· Today is October 16th, 2019.· The
·6· ·time is approximately 9:02 a.m.· The location is
·7· ·K&L Gates, 10100 Santa Monica Boulevard,
·8· ·Los Angeles, California 90067.
·9· · · · · · ·My name is Stephanie Naifeh.· I am the
10· ·video specialist representing First Legal Services.
11· · · · · · ·The civil action number
12· ·is 3:18-cv-04810-JCS, in the matter of Tanseer Kazi
13· ·and Linda Scheid versus PNC Bank, et al.· And the
14· ·deponent is Linda Scheid.· The video deposition is
15· ·requested by defense counsel, K&L Gates.
16· · · · · · ·Will counsel please identify themselves
17· ·for the record.
18· · · · · · ·MR. SWEENEY, JR.:· Yes.· I'm Paul Sweeney
19· ·at K&L Gates representing defendant, PNC Bank.
20· · · · · · ·MS. REJALI:· Saman Rejali, K&L Gates, for
21· ·PNC Bank.
22· · · · · · ·MR. SWEENEY, JR.:· Let me also mention
23· ·Jasen Mackenzie, who is the Western Territory
24· ·Exec -- Executive of PNC Mortgage will be attending
25· ·as well.· He's running a little late, but we can

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·1· · · · · · ·MR. SITKIN:· Object -- excuse me.
·2· · · · · · ·Objection.· Vague and ambiguous as to
·3· ·subject matter.
·4· · · · · · ·You may answer.
·5· · · · · · ·THE WITNESS:· I live in California.· I do
·6· ·realize that is the state law.
·7· ·BY MR. SWEENEY, JR.:
·8· · · · Q· · And so you took your breaks as was
·9· ·necessary and consistent with what you understood
10· ·California law to be; is that correct?
11· · · · · · ·MR. SITKIN:· Asking the witness to
12· ·speculate and make a legal conclusion.· It's also
13· ·vague and ambiguous as to subject matter.
14· ·BY MR. SWEENEY, JR.:
15· · · · Q· · Go ahead.
16· · · · · · ·MR. SITKIN:· Go ahead.
17· · · · · · ·THE WITNESS:· I was denied because I was
18· ·not paid for them.
19· ·BY MR. SWEENEY, JR.:
20· · · · Q· · I understand what you -- what you want to
21· ·say.· And I understand what you said.· But please
22· ·listen to my question.
23· · · · · · ·My question is whether or not you took the
24· ·breaks that you understood you were entitled to take
25· ·under California law, since you're familiar with

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·1· ·California law?
·2· · · · · · ·MR. SITKIN:· As -- mischaracterizes the
·3· ·witness' testimony.· Vague and ambiguous as to
·4· ·subject matter.· Asking the witness to make a legal
·5· ·conclusion.· Asked and answered.
·6· · · · · · ·You may answer again.
·7· · · · · · ·THE WITNESS:· Yes, I did take my breaks.
·8· ·BY MR. SWEENEY, JR.:
·9· · · · Q· · And when you took your breaks, were you
10· ·required to clock out for those breaks?
11· · · · A· · No, I was not.
12· · · · Q· · Okay.· So you were clocked in during all
13· ·of your breaks; is that correct?
14· · · · A· · That is correct.
15· · · · Q· · Okay.· And if you were clocked in during
16· ·your breaks, is it correct that you were being paid
17· ·during your breaks?
18· · · · · · ·MR. SITKIN:· Misstates the witness' prior
19· ·testimony.
20· ·BY MR. SWEENEY, JR.:
21· · · · Q· · Go ahead.
22· · · · · · ·MR. SITKIN:· Asked and answered.
23· · · · · · ·You may answer again.
24· · · · · · ·THE WITNESS:· I was not paid for my
25· ·breaks.· I was denied payment for my breaks.

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·1· ·isn't that correct?
·2· · · · A· · That is correct.· But I was doing other
·3· ·nonproductive work, like working on co-ops, and they
·4· ·weren't transferring titles, the County of L.A.· And
·5· ·PNC did not catch it, so I was doing a lot of
·6· ·extensive work keeping PNC out of trouble.
·7· · · · Q· · And it just happened to be nonproductive
·8· ·work?
·9· · · · A· · It was nonproductive work, but it was very
10· ·extensive.
11· · · · Q· · I understand.
12· · · · · · ·Now, let me mark as Exhibit 15 a one-page
13· ·document.· At the top it says "Corrective Action
14· ·Form," and it's PNC Bates No. 107 through 108.
15· · · · · · ·(Exhibit 15 marked.)
16· ·BY MR. SWEENEY:
17· · · · Q· · Before I move on to that document -- and I
18· ·believe that you have already answered this for me,
19· ·but I'm just going to make sure that I have the
20· ·answer on the record.
21· · · · · · ·On PNC 886 --
22· · · · A· · PNC --
23· · · · Q· · -- which is in the last -- one of the last
24· ·earning statements we talked about.· It said you had
25· ·a -- and you can look at 886.

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·1· · · · A· · I'm almost there.
·2· · · · Q· · Take your time.
·3· · · · A· · Got a lot of papers here.
·4· · · · · · ·Okay.
·5· · · · Q· · Okay.
·6· · · · · · ·It indicates that the previous pay deficit
·7· ·by that point was 30,663.60.· Do you see that?
·8· · · · A· · Correct.
·9· · · · Q· · Okay.
10· · · · · · ·And your annual salary in the upper,
11· ·right-hand corner, it says $33,280 still at that
12· ·point.· Do you see that?
13· · · · A· · That's correct.
14· · · · Q· · Okay.· So the amount of your pay deficit
15· ·at that point in time was almost equal to an entire
16· ·year's salary; is that correct?
17· · · · A· · That's correct.
18· · · · Q· · Were you ever asked to repay this
19· ·30-plus thousand dollar pay deficit?
20· · · · A· · No.
21· · · · Q· · Did you ever repay it?
22· · · · A· · No.
23· · · · Q· · Now, focusing on Exhibit 15, have you ever
24· ·seen this document before, that is PNC Bates 107
25· ·through 108?

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    6XSUHPH&RXUW

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    'LYLVLRQ6)
    &DVH1XPEHU6

     'DWH        'HVFULSWLRQ           1RWHV
      1RWH                    FHUWLILHGIRUSXEOLFDWLRQ0D\
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                GHSXEOLFDWLRQILOHG    $WWRUQH\0HOLVVD*UDQW                       
                 LQLWLDOFDVHHYHQW
      &DVHVWDUWGDWH
                 GHSXEOLFDWLRQ
                UHTXHVW
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                WKHFRXUW VRZQ
                PRWLRQ
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                QRWLFHILOHG           $WWRUQH\0HOLVVD*UDQW                       

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                 FDVHFORVHG           DSSHDOLVGHQLHG7KHFRXUWGHFOLQHVWRUHYLHZWKLVPDWWHURQLWVRZQPRWLRQ7KHPDWWHULV
                                       QRZILQDO


    &OLFNKHUHWRUHTXHVWDXWRPDWLFHPDLOQRWLILFDWLRQVDERXWWKLVFDVH




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           &DUHHUV _ &RQWDFW8V _ $FFHVVLELOLW\ _ 3XEOLF$FFHVVWR5HFRUGV _ 7HUPVRI8VH _       -XGLFLDO&RXQFLORI&DOLIRUQLD
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